     Case 3:20-cv-00845-DMS-KSC Document 25 Filed 11/09/20 PageID.116 Page 1 of 1



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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    TRACY LYNN COLLINS,                            Case No.: 3:20-cv-00845-DMS-KSC
      Individually,
12
                                    Plaintiff,       ORDER DISMISSING ACTION
13                                                   WITHOUT PREJUDICE
      v.
14
      PAYLOCITY CORPORATION,
15
                                  Defendant.
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18         Based upon Plaintiff’s and Defendant’s Joint Motion for Dismissal Without
19   Prejudice, and good cause appearing, the Court hereby ORDERS that this action is
20   DISMISSED WITHOUT PREJUDICE.
21         IT IS SO ORDERED.
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23   Dated: November 9, 2020
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